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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
ROBERT RUSSELL, individually, Case No.: 2:20-cv-00263
Plaintiff,
Hon. Ricardo S. Martinez, Judge.
vs.
JOSEPH SAMEC, individually DEFENDANT, JOSEPH SAMEC’S
SEAN BISHOP, individually, and OPPOSITION TO PLAINTIFF ROBERT
DOES 1-10 RUSSELLS MOTION FOR
Defendant(s) PRELIMINARY INJUNCTION
AGAINST DEFENDANT JOSEPH
SAMEC,
NOTED ON MOTION CALENDER:
June 5, 2020
DEFENDANT, JOSEPH SAMEC’S OPPOSITION TO PLAINTIFF ROBERT
RUSSELLS MOTION FOR PRELIMINARY INJUNCTION AGAINST DEFENDANT
JOSEPH SAMEC.
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DEFENDANT, JOSEPH SAMEC’S JOSEPH SAMEC, PRO PER
OPPOSITION TO PLAITIFF’S 838 NORTH CHARTERDR.
PLAINTIFF’S MOTION TO SEAL COVINA, CA 91724

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I. INTRODUCTION

1, In May 2016 Defendant Joseph Samec, (Samec) and his wife Brenda
Samec (Brenda) entered into a contract titled Purchase of Shares of Interest Agreement (The
Agreement) with Renewable Technologies Solutions Inc. (RTSI), to purchase shares of interest
in SMRB, LLC a Washington Corporation (The Corporation) which carries on the business of
grow and oil manufacturing under the operating name Green Acres Pharms (GAP) in the State
of Washington.

be The Agreement identifies Robert Russell (Russell), as 100% owner of
SMRB, and Green Acres Pharms, then continues to identify Robert Russell, and Guy Griffithe
(Griffithe) as 100% owners of RTSI, is 16 pages plus an addendum, and signed by both
Russell, and Griffithe.

3. On pages 2 and 3 of The Agreement, under Closing: No. 5 b: The
Agreement states: The seller will take all steps necessary for the corporation to
enter the purchaser, or its nominee, on the books of The Corporation, as the holder of interest.

4. On page 3 of The Agreement, under: Sellers Representations and
Warranties, No. 9 a: The Agreement states: The seller has full legal authority to enter into
and exercise its obligations under this Agreement. No. 9d: The Agreement states: The seller is
the absolute beneficial owner of the interest, free and clear of any liens, charges,
encumbrances or rights of others , and is exclusively entitled to dispose of the Ownership
interest.

>. On page 4 No. 9 G: The Agreement states: The Corporation is
operating in accordance with all applicable laws, rules, and regulations of the jurisdictions in
which it is carried on. In compliance with such laws, the seller has duly licensed, registered, or
qualified the Corporation with the appropriate public authorities. (A true and correct copy of
the Samec contract is attached as Exhibit A).

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6. For Russell, and/or Griffithe to sell shares of, or infuse money into

SMRB without first obtaining the approval of the Washington State Liquor and Cannabis
Board (WSLCB) violates:

1) WAC 314-55-035(1) True party of interest.

2) WAC 314-535-035 (2) Failure and refusal to provide requested documents.

3) WAC 314-ts. 55-035 (3) Misrepresentation of facts.

4) WAC 314-55-035 (5) True party of interest un-vetted funds.
And thus is illegal under Washington state law, therefore Russell, and Griffithe violated
Washington State law in regards to their sales of The Agreements mentioned supra. (A true and

correct copy of the WSLCB report is attached as Exhibit B).

FACTS SERVING TO OPPOSE PLAINTIFFS MOTION FOR INJUNCTIVE
RELIEF

7. Russell states under facts giving rise to injunctive relief: A. Russell
invests in SMRB, and meets Guy Griffithe. Russell did not invest in SMRB. LLC. But rather
created SMRB. LLC., Griffithe in fact invested in SMRB. LLC., using RTSI as a carrier. In
violation of Washington State law, as neither Griffithe, nor RTSI can invest in SMRB. LLC.,
dba GAP., without himself , and the invested funds first having been vetted by the WSLCB.
Again this is a violation of Washington State law, WAC 314-55-035(5).

A. The Guy Griffithe Scheme:

8. Russell claims Griffithe raised millions of dollars from third party
investors without his knowledge, or approval, and that his, Russell’s signature was either
forged or digitally edited on documents with investors.

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9. Griffithe attests under oath at both 341 meetings for RTSI’s bankruptcy
Case No. 20-10285-abl in the District of Nevada that the investor’s money from The
Agreements had been wired to Russell’s personal bank account, most particularly the
investment funds of Samec were wired directly to Russell’s account, Griffithe presented the
RTSI bank statements to Samec as evidence. Russell also fails to mention, he Russell has had
other business involvement with Griffithe in the past such as Alliance Auto Group, Outlaw
Printing, and Outlaw Offshore Racing, in turn Russell should have been well aware of
Griffithe’s business practices.
10. Russell claims to have had no knowledge of Griffithe’s dealings
with investors, however Russell accepted up to four million dollars ($ 4,000,000.00) from
RTSI, for SMRB, as stated under oath by Griffithe at RTSI’s 341 bankruptcy meeting in
Nevada, on April 29, 2020.
11. Russell claims in the Securities and Exchange Commission (The SEC)
complaint that The SEC alleges only RTSI, and Griffithe committed fraud, and operated a
Ponzi scheme. In fact The Sec complaint is not limited to RTSI, GAP, and Griffithe, nor did it
exclude Russell from the allegations of fraud, or involvement in a Ponzi scheme, see paragraph
89 of the SEC complaint. Simply denying the allegations in The SEC complaint does not
discredit his actions. (A true and correct copy of The SEC complaint is attached as Exhibit C).
B. Russells claims against Samec and Bishop allege Outrageous and Defensive

Material about Russell.

1, Russell claims Samec met Defendant Sean Bishop (Bishop) in
2018 to date Samec has never met Bishop, nor does Samec have or ever had an Instagram
account. Russell claims Samec and Bishop made an agreement to make fake Facebook
accounts, Samec has no agreements with anybody including Bishop to create any fake

accounts, on any social media sites, nor has he.

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13. Samec is not “Ben Thieven”, or “Dave Snothere”, and is not in control
of these accounts, nor does he know the owner of said accounts, and they are not under his
direction.

14. Russell is currently a named Defendant in at least 3 State Court
Civil Actions, 1 SEC Civil Action, and the debtor in 1 bankruptcy filing, and it is alleged by
the SEC that Russell sold fake securities to at least twenty five investors, to which any number
of those investors could be “Ben Thieven”, or “Dave Snothere”.

15. Russell’s claims the accounts of “Ben Thieven”, and “Dave Snothere”
have the same IP Address as Samec’s Facebook account is impossible, as each computer
devise has its own IP address, and IP addresses change frequently.

16. Russell also claims the Facebook accounts of “Ben Thieven”, “ Dave

Snothere”, and Joe Samec share many of the same friends, in fact the Facebook account of
Joe Samec, does have 21 friends in common with “Dave Snothere”, and 9 friends in common
with “Ben Thieven”, and Samec is not friends with “Ben Thieven”, on Facebook, or at all and
has no knowledge of who he is, although Samec is friends with “Dave Snothere” on Facebook ,
Samec has never met him or spoken with him. (A true and correct copy of “Ben Thieven” and
“Dave Snothere” Facebook friends page is attached as Exhibit D).

17. Russell in his attempt to blame Samec, for his woes has filed this

Frivolous complaint against Samec, using the same baseless allegations and IP addresses as
his co defendant Griffithe, in the SEC complaint, used in an attempt to file a restraining order
against Samec, Case no. 18 STRO08988 filed on December 21, 2018, by Griffithe in The
Superior Court of The State California County of Los Angeles. This case was dismissed with
prejudice without the need for the judge to take matters under submission. (A true and correct
copy of the CRO dismissal is attached as Exhibit E).

18. Russell fails to mention to the court in the same time as Russell
allegedly hired Chris Adams to “investigate” the identities of “Ben Thieven”, and “Dave

Snothere” several fake Instagram accounts surfaced, with hashtags using the names of Samec,

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and his wife, as well as many others, upon research it has been discovered that each of the
identities used to create these fake accounts currently, or previously have been involved in
court actions against Russell, and one of Russell’s codefendants Griffithe.

1S. Samec found out about the demeaning, and lewd postings from
co-workers who had seen the photo’s on the Union website where Samec works, after the
website had been attacked with the, lies, and lewd images. It can only assume these accounts
were created by Russell, and Griffithe or someone under their direction, due to the nature of
the remarks made in the postings. (A true and correct copy of the postings are attached as

Exhibit F).

RUSSELL’S ALLEGED EMOTIONAL DISTRESS AND MENTAL SUFFERING.

20. Russell contends, he feels unsafe in his own community, alleging it is
due to Samec’s alleged postings, and alleged threats of violence by Samec. Russell’s emotional
distress is understandable; however Russell’s emotional distress is not due to Samec, but may
rather be due to the SEC civil case filed naming Russell as a defendant, and alleging Russell
had defrauded at least 25 investors out of over $ 4,000,000.00, Russell is a named defendant in
at least 4 State Civil actions throughout the country, and Russell’s SEC charges were published
as a headline story in over 30 internet news articles. Russell’s woe’s are a result of Russell’s

own doing, and have nothing to do with Samec.

THE COURT SHOULD DISMISS RUSSELL’S MOTION FOR AN INJUNCTION
AGAINST SAMEC

A. Legal Standard for the Issuance of a preliminary Injunction

21. In considering a motion for preliminary injunction, a court evaluates

four factors.

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(1). Likelihood of success: This fails as Russell has not sufficiently
plead, or supplied any documents in support of his allegations against Samec, or his allegations
that Samec is the alleged “Ben Theiven”, or “Dave Snothere”. Russell has however supplied a
declaration from a “Chris Adams” alleging he “Chris Adams” has the qualifications to imply
that Samec is in control of the said accounts of “Ben Thieven”, and “Dave Snothere”. However
upon further review Chris Adams is a business partner of 2 of Russell’s codefendants, in both
State, and federal court.

(2). Further while Chris Adams claims several computer related
ratings of expertise, each of which is related to computer networking and/or virtual imaging not
one of them is in any way connected with determining the location of an IP. address beyond
the basic computer skills of the average layman.

(3). Additionally, in an apparent attempt to bolster his claim of
expertise, Mr. Adams claims in his declaration (page 2, Lines 15,16) that he used an unnamed
“IP Geo locating tool” in order to make his determination as to the location of each IP address.
This “tool” is nothing more than a free online website (IP LOCATION) that is accessible to
anyone who is capable of typing “IP locator” in the search box of any internet provider.

(4). That Russell will suffer irreparable harm absent injunctive relief
is non-persuasive. Any harm caused to Russell is the direct result of his own actions, and
business practices. One does not simply come under investigations from state, and federal
agencies such as the WSLCB, and the SEC, by conducting a legal business enterprise.

(5). The balance of equities does not tilt in Russell’s favor: Russell
has sought out investments, and loans from his friends, and others throughout the country,
under false pretenses, with false information depicting these businesses as profitable, and
capable of providing immediate return on the investment, in turn Russell has collected millions
of dollars, for which he cannot account for, for these businesses, and that he has not paid back.
As per the allegations made in the SEC complaint, and 3 of the state civil action Russell is

named defendant.
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(6). Russell declares injunctive relief is in the public interest:
Russell’s allegations are less than convincing as to how injunctive relief against Samec is in the
best interest of the public, as it will not quell the information posted by others, whom are not
Samec, about Russell, his business practices, the SEC civil Complaint, and the other numerous
civil lawsuits Russell is defendant in which allege fraud.

B. Russell’s sought-after injunction is vague and overly broad

22. Plaintiff, Russell is asking this court to enjoin Defendant from
publishing “offensive and outrageous publications.” This begs the question: Offensive to
whom? Outrageous to whom? Are we to allow Plaintiff to determine which publications meet
this standard? No doubt the SEC allegations alleging his participation in a Ponzi scheme, as
well as several other acts of dishonesty are offensive and outrageous to Plaintiff, particularly in
view of the fact the SEC published this information online.

C. Russell’s claims that he has suffered emotional distress as a result the
alleged posting does not warrant enjoining Samec’s 1 Amendment rights

1* amendment right to express his opinion.

23. Defendant, Samec, has a
Whether these opinions are actionable and, therefore, subject to injunctive relief is a question
of fact and will be taken up in the proper forum at the conclusion of this action.

24. Russell makes many bold unsupported and false allegations against
Samec, throughout his complaint and this motion for preliminary injunction. A reasonable
person would certainly not file such a frivolous unsupported baseless civil action in federal
court, using only pictures manufactured by persons other than Samec, and a declaration of
Chris Adams, who is business partner to, 2 of Russell’s codefendants. It could be assumed that
Russell has filed this action to create further hardship to Samec for cooperating with the
WSLCB, and the SEC, and filing a civil complaint in the The State of California in mid 2019

case no. RIC 1903005 to which Russell has evaded service of process thus far.
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25. Here Russell attempts to bind Samec to this frivolous motion for an

injunction fails, as Russell provides many false accusations against Samec.

EXTREME AND OUTRAGEOUS PUBLICATION DESIGNED TO HURT RUSSELL

26. A exhaustive review of cases involving claims of outrageous conduct,
including the case cited by Russell: Sutton v. Tacoma Sch. Dist, No. 10, 180, Wn App 859
(2014). Has yet to turn up any case basing any alleged actionable outrageous conduct based
solely on social media postings. Russell throws out allegations but does not provide sufficient
proof to support them. None of the elements of outrage found in the controlling cases have

been met. Further, Samec denies these allegations in their entirety.

EXTREME AND OUTRAGEOUS CONDUCT

Zt. Samec is unsure as to what conduct Russell considers to be extreme and
outrageous, was it the civil lawsuit Samec filed in Riverside California case no. RIC 1903005
naming Russell as defendant, that Russell has evaded service of process for 11 months, was it
the email Samec sent to Russell notifying Russell that the WSLCB, issued a document
subpoena to Samec regarding Russell’s Cannabis business, or that Samec gathered an
abundance of information about Russell’s Cannabis business, and supplied it to the SEC., after
Russell called Samec and told Samec if he supplied information to the WSLCB, no one would
get their money back.

28. Publicly accusing someone of a crime, as alleged by Russell is not
outrageous, and Samec has not threatened Russell with physical harm.

29. Regardless the photo’s Samec re-published, which were created by

persons who are not Samec, and shared on social media by persons who are not Samec to

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which Russell has never confirmed he had seen from his personal account if he has one, are not

outrageous, therefore Russell’s claims fails.

INTENTIONALLY INFLICTED EMOTION DISTRESS.

30. Although Samec did re-publish 9 posts from other people, Samec did not
re-publish the naked depictions of Russell, Samec did not request that anyone share these
particular posts, and there has been no threats of physical violence made by Samec towards
Russell. Therefore Samec denies the allegations he intentionally inflicted emotion distress

against Russell.

RUSSELL PORTRAYED IN FALSE LIGHT.

31. Samec denies all allegations that he portrayed Russell in false light, as
there is a civil complaint filed by the SEC, naming Russell as a defendant, and at least 4 civil
complaints filed in state civil court naming Russell as a defendant, 3 of which allege fraud as
does the SEC complaint, all are public information, and the SEC published target letter have

been the headline story in at least 30 online newspapers.

IRREPARABLE HARM ABSENT IMMEDIATE INJUCTIVE RELIEF,

32. Samec denies he has caused Russell any harm, rather Russell’s own
conduct as outlined in the SEC complaint, and the numerous civil complaints filed throughout
the country, alleging fraud, naming Russell, and Russell’s businesses, as defendants.

33. When a federal agency files a civil suit naming Russell as defendant, and
releases a target letter, and complaint to the public naming Russell as defendant, it could be

_assumed having to defend yourself against charges by a federal agency could be damaging to

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ones public image. Issuing a preliminary injunction would not serve public interest, and is a
waste of the courts time.

34. Samec denies he inflicted any harm, or emotional distress to Russell.

GRANTING RUSSELL INJUNCTIVE RELIEF WOULD NOT SERVE PUBLIC
INTEREST.

 

33. Enjoining Samec would promote judicial injustice, and limit Samec
from discussing Samec’s previous failed business dealings between Russell, and himself, as
Samec’s allegations against Russell mirror those alleged by the SEC, and at least 2 other civil
complaints naming Russell as a defendant.

34. Russell states the Supreme Court has held that First Amendment
protections are less rigorous in a private matter like this, this is not a private matter, Russell’s
alleged business conduct has caused the SEC, and others to file civil actions against Russell,
this is a public matter, as most all court cases are.

35. The SEC complaint, and the 4 civil actions filed naming Russell as a
defendant are not “fake news”. The public and anyone preparing to do business with Russell
have a vital interest in these cases and Russell’s business conduct, as well as a right to protect

their own interest against Russell, and his business practices.

CONCLUSION

36. Russell fails to provide anything more than false, and unsupported
assumptions in his motion for Preliminary Injunction against Samec, therefore Russell’s
motion for Preliminary Injunction, as well as his entire complaint for Defamation, Outrage,

Tortious Interference, False Light, and Injunctive relief should be dismissed in its entirety.

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WAWD - Certificate of Service (Revised 12/27/12)

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

Robert Russell an individual

Plaintiff(s),
2:20-cv-00263

% Case No.

 

Joseph Samec, an individual
Sean Bishop, an individual, and

Does 1-10 CERTIFICATE OF SERVICE

Defendant(s).

 

 

| hereby certify thaton May21,2020 | electronically filed the foregoing

 

with the Clerk of the Court using the CM/ECF system which will send notification of such
filing to the following:

bthoreson@buchalter.com, mbrandt@buchalter.com, tsempel@buchalter.com,
ocket@buchalter.com, kfitzgerald@buchalter.com

and | hereby certify that | have mailed by United States Postal Service the document to the
following non CM/ECF participants:

re Bishop

Dated May 21, 2020 : 4 il Aspe
r ugea's d your name

 

Joseph Samec In Pro Per
838 N. Charter Dr.

‘Covina Ca 91724
626-482-6173
josephsamecS@gmail.com

 

Name, Address and Phone Number of Counsel or ProSe _

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